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                  EXHIBIT A
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       1. I understand the purpose of plasmapheresis is to obtain blood plasma without. depriving me of red blood
           cells. In addition to receiving information about and being instructed on the plasmapheresis process in this
           Consent Agreement, I have also received information about and been instructed on the plasmapheresis
          process, including an overview of the plasmapheresis procedure, the risks of adverse reactions, injuries, .and
          events which may occur during or after plasma donation, the testing that                will
                                                                                          be performed on my plasma,
          and the evaluation process, through video and/or interaqtive educational visual presentations and processes
          during which I was given the opportunity to discuss and ask questions about the plasmapheresis prncess and
          its risks.                            -                              ·

   2. The plasmapheresis collection procedure will be performed utilizing an automated blood_ processor. This
      technique involves the following:                                                              .
      A Using sterile, disposable supplies, approximately one (1) pint or less of whole blood, mixed with
          anticoa·gulant to prevent clotting during the procedure, will be drawn into a separation device in order to
          separate it into plasma and red blood cells.
      B. Removal of the plasma portion of the blood into a separate collection container.
      C. Under aseptic procedure, the remaining red blood cells are returned to me.
      D. Steps A, 8, and Care repeated until a specific amount of plasma based on my weight, and
         recommended by the US Food and Drug Administration ("FDA") is obtained. ·. ·
      E. Once the procedure is completed, I will receive no more than 500 ml of intravenous saline solution. If l
         have an adverse event, additional saline might be required.
                                             a
      F. There is a possibility that repeat veripuncture (needle stick) might be necessary in some instances.
      G. The first donation may take anywhere from two to four hours due to processing required for new donors.
         However, future donations should fake less time.

  3.     I may be accepted for automated plasmapheresis no more than once in two (2) calendar days and twice in
         ariy seven (?}-calendar-day period. I will also only participate in one (1) plasmapheresis donation program at
         a time. While I am participating in the Grifols plasma donation program, I will inform the Center staff of any
        participation in any whole blood, platelet, white blood cell or plasma donation program with other
        organizations, which I understand may cause a temporary deferral from Grifols' Source Plasma or other
        Grifols' Plasma Donation programs. I will also inform the Center staff if I receive any kind of medical
        treatment following a donation or if there is any change in my medical, health, or lifestyle history following a
        donation and before any subsequent donation.

 4. I understand that before my first donation, my photograph was taken, with my consent, for identification
    purposes. As nece!;)sary th~reafter, the donation Center will take a new photograph if my physical
    appearance has changed. I understand and agree that I will not be allowed to wear any kind of head or face
    apparel or coverings when such photographs are taken.

5. The protein or hemoglobin (hematocrit I red blood.ceH) levels of my blood may .be reduced           repeated      by
    plasmapheresis. These levelswill be monitored periodically (through finger stick tests), and should they
   decrease, it may require that I be-removed temporarily from the donor program. Each time I wish to donate,
   the Center staff will take my temperature, pulse, blood pressure, and weight. For my own protection, if any
   test result or reading is out of acceptable limits, I understand and agree that I will not be allowed to donate
   plasma until it has -returned to normal. I will also be required to answer a new medical and lifestyle
   questionnaire.

6. There is a possibility that my red blood cells may not be returned to me due to equipment failure, poor or
   faulty veins, poor blood flow, or contamination of the red blood cells during the plasmapheresis process. If



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    this occurs, FDA regulations require that I be removed from the donor program for eight (8) weeks , During
    this time no fees will be paid to me: ·

7. There is ·a ·possibility I may experience adverse reactions, symptoms or injuries during or after
   plasmapheresis, including after leaving the donation Center:
   A. Risks associated with the vehipuncture (during or after the plasmapheresis procedure, including after
        leaving the donation Center) - J understand that:                                     ·           ·           ·
              a. Some individuals experience discomfort such as pain, itching, or a localized rash at the infusion
                     site. I further understand that sometimes the first needle that is put in the arm may need to be
                     adjusted, and in some cases, additional venipunctures or new needles might be needed. I also
                     underst~md that a scar can deve!op at the venipuncture site.
             b. In addition, there is a possibility that a blood _   clot may develop on or near the venipuncture area.
                     further understand that blood clots are painful and might require medical attention, which might
                     include hospitalization. I also understand that, although rare, blood clots can spread to other
                     areas of my body which may result in severe consequences, including strokes and death.
             c. The area of the venipuncture might become infiltrated (a leakage of fluids or blood info the
                    surrounding tissues) which may result in a hematoma, bru.ising or reddish discoloration, swelling,
                    and/or pain that might occur on the same day of donations or several days after the donation is
                    completed. · I further understand that this infiltration could extend in the surrounding tissues and
                    through the arm and can cause other symptoms. .
             d. There is also a possibility of infection of my skin, my surrounding tissue, or my vein itself. I also
                    understand that a temporary rash may develop where the skin antiseptics are applied.
            e. Rarely, the needle is inserted into my artery instead of my vein, which may cause significant
                    bleeding requiring possible hospital care.
            f. Although rare; there 'is a possibility that the venipuncture, the adjustment of the needle (if
                   necessary), or an infiltration/hematoma/bruise may cause nerve damage, which may result in
                   pain, numbness, tingling, ·weaknes!? and/or loss of function of my arm or hand. I also understand
                   that, although, most commonly, the nerve damage is temporary, it could also be permanent.
  B. Risks associated. with the plasmapheresis procedure (during or after the plasmapheresis procedure,
      including.after leaving the donation Center)- I understand that
           a: There is the possibility of experiencing visual disturbances, dizziness, fainting, loss of
                  consciousness, trouble breathing, nausea, vomiting, and/or convulsions (seizures) related to the
                  change in my blood volume. l further understand that due to some, or all of these symptoms, and
                  while standing or sitting, I may fall, which may lead to serious injuries, including head injuries, and
                  broken bones.                           ·'                               ··
           b. Although rare; some individuals may experience allergic reactions such as flushing, diffUse rash
                  (all over your arm or body), hives, abdominal cramps, tightness in the throat, difficulty breathing,
                 chest pain, and/or bronchospasm which may possibly be life threatening.
          c. Although the automated plasmapheresis instrument is equipped with air detectors to prevent air
                 embolism, there still is the remote potential for an air embolism, with severe consequences
                 including death.
          d. Due to the use of Sodium Citrate as a blood anticoagulant, there is a possibility I m~y experience
                tingling of the fingers, mouth, or hand, or mild or s~vere muscle cramps, stomach cramps,
                tightness in the throat, flushing of the skin or hives; chest pain and/or difficulty breathing.

 C. If any of these or any other adverse reactions, symptoms, or injuries occur during or after my donation, I
     understand and agree to notify the Center Staff immediately, regardless ofwhether it takes place while l
    am at the Center or after I leave the Center. If such adverse reactions, symptoms, or injuries occur after I
    leave. and am away from the Center, and if I believe that I need follow-up medical attention, I understand


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           and agree that I sf:io1,1ld contact my doctor, or if l believe I ne.ed immediate medical attention, call 911 or
           go to the emergency room. If any such adverse reactions, symptoms, or injuries occur while I am at the
           Center, the physician or designated personnel will administer appro.priate supportive care and/or, in ri'lre
           occasions, limited emergency.treatment (for example, oxygen, salit"!e solution, epinephrine o.r aspirin) to
           me as needed or will refer me to a lo.cal medical .facility for treatment.

      D. If it is recommended to me by the Center staff that I _seek medical evaluation or treatment from a medical
         facility for any adverse reactions, symptoms. or injuries, including those identified above, and if I refuse or
         decline ta seek such medical evaluation or treatment and/or refuse or decline transportation to the
         emergency room or medical facility to seek such medical evaluation or treatment, l understand and agree
         that I am assuming the risk that my condition or situation may conti.nue or may become worse and/or
         cause additional medical conditions and problems to develop or occur, up to and including d~ath.

      E. I understand and agree that the Center is not a health care provider, but rather a plasma collection
          facility, that it and its staff cannot provide, and are not providing, me with medical advice or.tre'atment, -
          other than the supportive care and limited emergency treatment set for in 7.C. above. and that the CE?nter
          does not create or maintain medical records.

     F. I also understand and agree that all of these ~dverse reactions, symptoms, and injuries may occur and
          are known and expressly agreed upon risks of the plasmapheresis process and donating plasma.

 8. As with any procedure; I understand and agree that it is not possible to completely eliminate risks,
      adverse events, or injuries. However, to help reduce the possibility of risks, adverse events and
    . injuries, I understand l must drink plenty of non-alcoholic, non-caffeinated fluids before and after every
      donation. I realize that I should drink e.nough water; juice, or sports drink so my urine is clear. l should eat a
     good meal before and after my donation. It is my responsibility to notify a Center staff member if l have not
     followed this guidance in the two (2) hours prior to donation. Once my donation is complete, I understand
     and agree that, if I feel well, ·I will slowly sit up on the bed and will not stand up, start walking, or leave the
     Center until I am sure l feel well. If l do not feel well after l have ·completed my donation, I understand and
     agree that I will immediately ·notify a Center st<;:1ff member. After completing my donation, l understand and
   . agree that I will not smo.ke or drink alcohol until l am sure that I feel well.


9. To help prevent complications of the venipuncture: l have been given, understand 1 and agree to adhere
    to the following precautionary instructions which are intended to protect my health and well-being during and
    following the plasrnapheresis procedure·: ·               .
    A.         Do not move or bend my arm while the needle is in my vein.
    B'.       Tell the ·center staff if there is any discomfort, troubles or symptoms atthe venipuncture site.
    C.        Leave the bandiige on for at least two (2) hours after it is put on. Do not loosen or tighten it during -
              this perfod.                                                                       .
    D.        If a new bandage is needed, use a clean one. Do not reuse the same bandage. ·
    E. After the donation, any trouble at the venipuncture site (such as bleeding, pain, redness, itching, bruising,
        swelling, or rash) must be shown to Center staff as soon as it appears, or, if I have left the Center, as soon
        as possible.                                ·
   F, .Keep the needle puncture site clean. :                      .
  G. Do not wash the area (needle puncture site) for at least 2 hours after the donation.
  H.. Do not touch o"r pick at the venipuncture site.
  I. For at least two (2) hours after the bandage is put on, avoid all strenuous physical activities with my arm,
      including pushing, lifting, and carrying heavy objects.

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    10. I HAVE BEEN INSTRUCTED IN THE BASICS OF THE AUTOMATED PLASMAPHERESTS. PROCEDURE. [
        HAVE BEEN GIVEN THE OPPORTUNITY TO ASK QUESTIONS I MAY HAVE REGARDING THE
        PROCEDURE. I UNDER.STAND THAT IT IS MY RESPONSIBILITY TO NOTIFY THE TECHNICIAN OR
        OTHER CENTER STAFF OF ANY DfFFICULTIES I MAY ExPERIENCE WHILE ·1 AM USING THE
        AUTOMATED BLOOD PROCESSOR AND DURING THE ENTIREPLASMAPHERESIS PROCEDURE. I
        UNDERSTAND THAT FAILURE TO NOT!FY°THE TECHNICIAN OR OTHER CENTER STAFF MAY
       RESULT IN SERIOUS INJURY TO ME.

    11. I understand and agree that for my health and safety and that of the recipients of products made from my
         plasma, my blood, or my urine will be tested for.       .                           ·            ·
        A. Hematocrit and protein levels prior to each donation,      .
         B. Urine test f<?r glucose and protein. In some ca.ses, drug testing will be done, which would be notified
               separately, as needed.          .
        C. Hepatitis B surface antigen· (HBsAg),
        D. Antibody to hepatitis C virus (Anti-HGV),
        E. Antibodies to human immunodeficiency virus types 1 and 2 (Anti-HIV 112) which have been ·implicated in
            · the transmission of acquired immune deficiency syndrome (AIDS), .
        F. Nucleic acid sequences from h_epatitis B virus (HBV), hepatitis C virus (HCV),and human
              immunodeficiency virus type 1 (HIV-1), done by Nucleic Acid Test (NAT) on pooled samples,
       G. Nucleic acid sequences for Parvovirus 8-19 and Hepatitis A Virus (HAV),
       H. ALT (Alanine Aminotransferase}- a liver enzyme,
       I. Unexpected Blood Group antibodies (Indirect Coomb's test),
       J. A serologic test for syphi[is (tested every 4 months), protein levels (tested every 4 months), and
       K. Other tests as required.            ·                           · ·

  12. I agree to have my blood _and plasma tested for the presence of transmissible disease agents and other
      antibodies. I understand that all the medical and laboratory evaluations are completed for the sole purpose of
      evaluating my eligibility as a donor. The tests done on my blood and plasma are tests that are required by
      the FDA forthe·purpose of screening·blood·and plasma donors. These screening tests are NOT_ medical
      diagnostic tests and are NOT intended to diagnose any medical condition or obtain a formal medical .
     diagnosis or medical care from the Center staff. I can, however, request a copy of abnormal screening test
     results so l can provide it to my personal physician or health care provider for formal diagnosis and
     treatment.                                                 · ·

     A. Any screening test can have a false positive result, which means that blood or plasma will be positive by
          the screening test ~ven though it does not contain the antigen or antibody for which it is being tested.
     B. Any .screening test can also have a false negative resulL which means that blood or plasma will be
          negative by the screening test even though it does contain the antigen or antibody for which it is being
       ·· tested. This could be seen dµring the "windo.w period" of the infection (the time period early in infection
         when .the tests may be negat~e although infection is present and could be transmitted).
                                                          .                                   .
· 13. If the HBsAg test, ·anti-HGV test, anti-Hrv 1/2 fest, Syphilis, or any of the nucleic acid tests fur HBV, HCV or
       H!V-1 for my blood or plasma a@. J=>bsitive, I unders"tand that l will be permanently deferred from donating
      blood and/or plasma and I will be informed of the positive results of a test or tests in a confidential manner at
      the Center. My name will be placed ori all applicable permanent deferral lists, including the National Donor
     Deferral Registry. These permanent documents will not list the reason for deferral. l also understand and
     agree that I will be and remain permanently deferred even if the formal medical diagnostic test resu~
     received
          . from my personal physician or healthcare provider are negative. Furthermore, if any such screening
                                                              '




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           test results are positive, I -understand and .agree that ff my sexual partners and household contacts come to a
           Grifo!s Center and wish to donate plasma or they are -a current Grifols plasma don.or, they will be notified that ·
           a sexual partne~ or household contact has tested positive for a viral marker, they wHI be counseled in a·
           confidential manner for eligibility as new. or continuing pla?ma donors, and possibly deferif~d from donation
          according to regulatory guidelines. Additionally, ff· I, or any other Gfifols plasma donors, have an active
          deferral status, such.deferral information is also exchanged with other plasma centers in the local area. This ·
          information will also be supplied to appropriate local, state and/or federal health authorities, including Health
          Departments, that require the reporting of certain diseases, or that is otherwise required by Jaw, or that is
          deemed necessary and appropriate in the sole discretion of Grifols: ·My donor record, as well as the results of
          all testing performed, will be available for review by selected Center and Grifols employees and public health
          officials. ·                                                               · ·

         If any of the other tests are oytside required limits, I will be temporarily deferred from donation until test
         results return to acceptable values. I understand that the results of these tests will be accessible to the
         Center.staff, including Center Manager, Center Quality Manger,· Operations Supervisor, medical staff, Grifols
         physicians, and other Grifols employees as may be required for business purposes, including documentation,
         record review, and management of plasma collected from ·me. I understand the above information on these
         screening tests and agree they may be performed on my blood and/or plasma ·

     14. Possible Use of Donor Information and Blood, Plasma or Serum Sam.pies in Medical Research and
        Publications: f understand, agree and give my consent to Grifols and other institutions, including, but not
        limited to, academic centers and companies, to use my plasma and/or blood s<;imples for additional testing
        and to publish my laboratory results, screening test results and demographic data for research and ·
        educational purpos!=?s. ·
             • I .understand that my personal information will remain oon~dential as samples used for research are ·
                  coded and not linked to my identifying information. Only authorized Grifols personnel can link coded
                  samples to my identifying information. My identifying information is not reported outside Grifols unless
                  required by law.                                                                                     ·
             • A portion of my blood and/or plasma samples or information ·collected at the time of donation may be
                 used to make research studie5 possible. Some examp'les of the types of research 'include, but are not
                 limited to:                                ·                                         ·
                      o Studies related to testing, storing, collecting and processing blood, plasma or serum
                      o stUdies of new methods to test blood for infectious diseases
                      o studies for biological markers, new diseases or new teStirig methodologies
                      o Epidemiological studies            ·
            • Results from these studies may be published. Publications will comply with all legal requirements ..
            • Certain test results might be of interest to other researchers. In some cases, Grifo!s staff may contact
                me by phone or letter and ask me to participate in a voluntary follow-up study.
            • I may refuse to allow my blood and/or plasma samples to be used for research. However, I
               understand and agree that if I do not aflow my blood or plasma samples to be used for research, I Will
               not be able to donate piasma                     ·
          • If I decide to withdraw my consent after leaving the Center, I must contact and advise the Center in
               writing of my withdrawal. However, samples and test information collected before my withdrawal may
               still be us.ed after .my withdrawal.                         .
          a   I understand and agree that for these additional tests or research no additional consent will be given .
              to me, unless required by an Institutional Review Board (!RB). An IRB is an independent review
              panel that is responsible for ensuring the protection of the rights and safety of subjects in a clinical
              study and for monit.oring compfiance with regulations.


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                 I understand that there is a small chance that my blo~d, plasma or serum ·samples used for medical
                 research may give test results that indicate I will no longer be.allowed to donate blood or plasma
                 because of the risk of tran~miitirjg disease. In such cases, I understand ~at I will be notified of the
                 tes~ result an9 any of the provi~i_ons outl!ned in s~ction 1~ of this informed con_sent niay ~pply. ·

   15. I have been given the opportUnity to d.iscuss and ask any questions I choose about the plasmapheresis
       process, procedures, and this Consent Agreement. My participation·in the plasr:napheresis process is
       completely voluntar}l, and I understand.that I can withdraw my consent and discontinue-participation in the
       automated plasmapheresis program at any time:                                          ·

   16. I understand and agree that I Will provide my fingerprint as biometric authentication of my identity as part of
       the ·automated screening process -(one time at the beginning of the screening process and one time at the
       completion of the screening process). I further understand and agree that by and through the provision of my
       fingerprint following the completion of the health, medical, and lifestyle history questio~s and
       acknowledgment and verification statements contained in the automated screening process, I have
       acknowledged, verified, and agreed to, and will acknowledge, verify, and agree to, all of the information, ·
      answers," statements, and representations-provided and made in response to.such questic;rns and statements
      and have represented, and will represent, that all such information, answers, statements, and
      representations are true, accurate, and complete.

  17. I understand and agree that my eligibility for the·plasma donation program is based on a medical examination
      as well my answers given to the medical and lifestyle history questions asked of me, and when needed,
      information f~om my health care provider. This is required before I donate for the first time and at least         .I
      annually. I understand and agree that I must and will answer honestly, accurately and completely all such .
      questions. If I knowingly provide false information, I understand that J rriay be subject to penalties, fines, and
     jail time for endangering the lives of       the
                                                persons receiving my plasma. I represent that'all answers I have
     provided or will provide to the questions asked of me are or will be true, accurate, and complete. If, for any
     reason, it is determined that I should not donate plasma or I appear to be providing unreliable answers to any
     such questions, I understand and agree that I will be temporarily or permanently deferred from d~nating
     plasma. I understand and agree that there are no guarantees or assurances th·at I will be accepted as a
     plasmapheresis donor.                                     ·

 18. I have reviewed and understand the information provided to me regarding the spread of HIV by donated
   · blood or plasma; and if l.consider myself to be a person at"risk for spreading HIV, I agree not to donate blood
     or plasma fur transfusion to another person or for further manufacture. I hereby certify and declare under the
     penalty of perjury, that to the best of my knowledge, I do not have any signs or symptoms of HIV and that I
     am not a member of any high risk group for HIV.

19. I understand and agree that if I find out or remember information about my health or behaviors that may
    require a deferral from donation, I will n_otify the Center immediately.

20. The donor Center r8Serves the right to refuse plasma donations for any reason, from any individual, and
    without furthe~ explanation.                                            ·

21. I authorize and give my consent tq Grifols, to collect, use, and/or disclose my personal identification, health,
    medical, and lifestyle information ("personal information') which I have provided to them o~ they obtained in
    connection with my donation of plasma to their parents, subsidiaries, and affiliated companies as may be
    needed for business purposes, including management of the plasma collected ftom me, and I or to the
   appropriate governmental agencies of health authorities that require the reporting of such information. I also
   authorize and give my.consent to Grifols to disclose my personal identification infom:ration, specmcally                                I
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                   ex:cluding health, medical, and fifestyle information, to their third-party affiliates and -business partners for the
                  sole-purpose of performing services for or on behalf of Grffols-related to my donation payments. These third-
                  part affiliates and business pc;irtners will not use or disclose my personal information for their direct marketing
                 ·purposes ·or any other purposes. I may refuse to provide Grifols or their third-party affiliates and business
                  partner~ with consent to collect use, and/or disclose my personal information to their affiriates and busin~s
               . partners. However, I understand and agree that if I do not provide Grifo!s or their third-party affiHates and
                 busin~s· partnE?rs with such consent I will not be aple to donate plasma. If l decide to withdraw my consent
                 after leaving the Center, I must" contact and advise the Center in writing of my withdrawal. However, personal
                information corlected, used, and/or disclos~d before my withdrawal may still be used after my withdrawal.
                          .                                                        .
        22. I understand that I may request a copy of this consent once I have signed it and is fully ~~ecuted.

        23. r have read (or have had its contents read to me) and understand this ConsentAgreemen~ had explained to
            117e the information provided regarding, and have had a chance to discl}ss and ask questions about, this
            Consent Agreement, th.e pfasmapheresis procedure, the risks involved, the necessary testing, the evaluation
            process, arid the spread of HfV by blood ·or plasma, and I agree to participate in Grifols' automated
           plasmapheresis program under and pursuant to the terms and c;onditions contained nereirt.


                                                                                        Ofc/1 4/ 17·
                                                                                                    Date


        Boan Va~ha 12 -
      Donor Name



       ~
     Witnessing Medical Staff Member Signature
                                                                                        O~/N(Jor7


    GRIFOLS PLA~WADQNATION FAC/Lf1Y.(stamp or write Center name, address, and telephone number here):
                                                   .                                                 -


                                                                                        Blomat USA, Inc.
                                                                                        3280 West 87th Street
                                                                                        Chicago, IL 60652
                                                                                        (708) 459-9888


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 _;J \·,.PROPRIETARY AND' CONFIDENTIAL; SOLS...Y FDR THE AUTHORIZED USE OF TiiE GRIFOLS PLASMA COMPANIES AND THBR AFFILIA7ES. PUSUCATIDN,
 ,:~;~~ REPLIBLIC6..TION, DfSSEMlNATIDN, DR DISCLOSURE DF THIS DOCUMENT REQUIRES GRJFDLs' SPECIFJC WRITTEN CONSENT; DESTROY IF YOU ARE IN
··.:: ~ :· •                                 .       UNAUTHORIZED POSSESSION OFTli/S DDCU~.            .
